END, HIERSEMAN AND CRAIN, L.L.C.
By:    Jerome A. Hierseman, Esquire (I.D. No. 1005140)
731 N. Jackson Street, Suite 600
Milwaukee, WI 53202
414-278-8060
jhierseman@EHCLAW.com
Attorney for Plaintiffs

KLINE & SPECTER, P.C.
By:     Michael A. Trunk, Esquire
        Helen A. Lawless, Esquire
1525 Locust Street
Philadelphia, PA 19102
(215) 772-1000
michael.trunk@klinespecter.com
helen.lawless@klinespecter.com
Attorneys for Plaintiffs

CUKER LAW FIRM, L.L.C.
By:    Mark Cuker, Esquire
500 Office Center Drive, Suite 400
Ft. Washington, PA,19034
215-559-6951
mark@cukerlaw.com
Attorney for Plaintiffs

                         IN THE FEDERAL DISTRICT COURT OF
                        THE EASTERN DISTRICT OF WISCONSIN

SHANON SCHMIDTKNECHT individually                CIVIL ACTION
and WILLIAM SCHMIDTKNECHT
individually and as Special Administrator        DOCKET NO:
of the Estate of COLE SCHMIDTKNECHT
W10520 Tipperary Road
Poynette, WI 53955                               COMPLAINT IN CIVIL ACTION

              Plaintiffs,
                                                 JURY TRIAL DEMANDED
              v.

OPTUMRX, INC.
2300 Main Street
Irvine, CA 92614

and




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WALGREENS BOOTS ALLIANCE, INC.
108 Wilmot Road
Deerfield, IL 60015

and

WALGREENS PHARMACY
729 W. Northland Avenue
Appleton, WI 54914

               Defendants.


                                CIVIL ACTION COMPLAINT

       Plaintiffs, Shanon Schmidtknecht, individually, and William Schmidtknecht, individually

and as Special Administrator of the Estate of Cole Schmidtknecht, by and through their

undersigned attorneys, hereby demand damages of the Defendants, in a sum in excess of the local

arbitration limits, exclusive of interest, costs, and damages for prejudgment delay, upon the causes

of action set forth below.

                                            PARTIES

       1.      Plaintiff Shanon Schmidtknecht is an adult citizen of the State of Wisconsin,

residing therein at W10520 Tipperary Road, Poynette, Wisconsin 53955.

       2.      Plaintiff William Schmidtknecht is an adult citizen of the State of Wisconsin,

residing therein at W10520 Tipperary Road, Poynette, Wisconsin 53955.

       3.      Cole Schmidtknecht was born on March 18, 2001, and died on January 21, 2024.

       4.      Cole Schmidtknecht was an adult citizen of the State of Wisconsin, who formerly

resided therein at 1426 West Weiland Lane, Appleton, Wisconsin 54914.

       5.      William Schmidtknecht was appointed as the Special Administrator of the Estate of

Cole Schmidtknecht by the Circuit Court of Outagamie County, Wisconsin, on January 6, 2025.




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        6.        Defendant OptumRx, Inc. is a corporation incorporated in the state of California

with its corporate headquarters located at 2300 Main Street, Irvine, California 92614.

        7.        Defendant OptumRx, Inc. will be referred to herein as “OptumRx.”

        8.        Defendant Walgreens Boots Alliance, Inc. is a corporation incorporated in the state

of Delaware with its principal place of business and headquarters at 108 Wilmot Road, Deerfield,

Illinois 60015.

        9.        Defendant Walgreens Boots Alliance, Inc. does business as Walgreens Pharmacy at

retail pharmacy locations across the country.

        10.       One such Walgreens retail pharmacy is located at 729 West Northland Avenue,

Appleton, Wisconsin 54914.

        11.       Defendant Walgreens Boots Alliance, Inc. and Walgreens Pharmacy will be

collectively referred to herein as “Walgreens Defendants.”

                                   JURISDICTION AND VENUE

        12.       Federal jurisdiction in this action is predicated upon diversity of citizenship under

statutory authority of 28 U.S.C. § 1332. The amount in controversy exceeds $75,000.00.

        13.       For purposes of diversity under 28 U.S.C. § 1332, Plaintiffs are citizens of the State

of Wisconsin, Defendant OptumRx is a citizen of the State of California, and Walgreens

Defendants are citizens of the States of Delaware and Illinois.

        14.       Venue is proper in the Eastern District of Wisconsin pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the claim occurred

in this District with respect to the civil action in question.




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                                         OPERATIVE FACTS

                THE OLIGOPOLY OF PHARMACY BENEFIT MANAGERS

        15.     In the modern U.S. healthcare system, Pharmacy Benefit Managers (hereinafter

“PBMs”) are entities that act as middlemen between health insurers, prescription drug

companies, and pharmacies.

        16.     The nation’s three largest PBMs oversee the fulfillment of over 79% of drug

prescriptions in the United States, belonging to over 200 million Americans.

        17.     One of these three giant PBMs is United Health Group’s subsidiary, OptumRx.

OptumRx services claims for over 66 million people nationwide. Their market share has been

steadily rising over the past decade as the industry has consolidated into a powerful oligopoly.

        18.     PBMs artificially drive up healthcare costs for Americans in a myriad of ways,

such as forcing patients to fill prescriptions for more expensive drugs even when cheaper

alternatives exist for the same conditions and setting artificial requirements that patients go on

so-called “step-up” regimens, where they are required to try more expensive drugs for a certain

period of time dictated by the PBM, before they are permitted to receive the medication their

doctor chose.

        19.     To make matters worse, research shows that a significant portion of Americans do

not have emergency savings and cannot afford an unexpected expense of over $400.1 One study

found that 27% of adults have no emergency savings at all.2




1
  See PR NEWSWIRE, 37% of Americans can't afford an emergency expense over $400, according to Empower
research, https://www.prnewswire.com/news-releases/37-of-americans-cant-afford-an-emergency-expense-over-
400-according-to-empower-research-302187157.html; CNBC, Personal Finance
44% of Americans can’t pay an unexpected $1,000 expense from savings, https://www.cnbc.com/2024/01/24/many-
americans-cannot-pay-for-an-unexpected-1000-expense-heres-why.html
2
  See BANKRATE, Bankrate’s 2024 Annual Emergency Savings Report,
https://www.bankrate.com/banking/savings/emergency-savings-report/

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        20.    According to an interim staff report released in July of 2024 by the Federal Trade

Commission as part of the agency’s ongoing investigation into the growing and consolidating

PBM industry, the FTC stated that PBMs “wield enormous power and influence over patients’

access to drugs and the prices they pay. This can have dire consequences for Americans, with

nearly three in ten surveyed Americans reporting rationing or even skipping doses of their

prescribed medicines due to high costs.”

 PBMS DICTATE PATIENTS’ MEDICATIONS BASED ON THEIR OWN FINANCIAL
                            INTERESTS

        21.    Advair Diskus is a brand name for a corticosteroid inhaler that is used to prevent

and control symptoms of asthma.

        22.    As the fall of 2023 approached, OptumRx changed its formulary of covered drugs

for the coming year and determined that it would no longer cover Advair Diskus.

        23.    Nor would OptumRx cover Advair Diskus’s generic equivalents, such as

fluticasone propionate/salmeterol.

        24.    Instead, OptumRx would only cover Advair HFA or Breo Ellipta, two newer

brand drugs, whose manufacturer had paid OptumRx substantial kickbacks (euphemistically

called “rebates” and/or “compensation”) in exchange for their favorable placement on

OptumRx’s updated formulary, while excluding Advair Diskus and its generic equivalents.

        25.    This practice of requiring patients to change their medications so that the PBM

can collect kickbacks from the drug manufacturer is called “non-medical switching” because the

choice of medication is dictated by the PBM’s financial interests, not the best medical interests of

patients.

        26.    Under OptumRx’s updated 2024 formulary, a patient with a prescription for

Advair Diskus, or a generic alternative, could only have that prescription filled if the patient

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obtained a “Prior Authorization,” which required the prescribing physician to specifically ask

OptumRx to cover the medication in advance, and for OptumRx to specially approve the

medication before the prescription was filled.

         27.    According to OptumRx’s Provider Manual, when a Prior Authorization is

required, the patient or their physician and/or pharmacist must go through the following steps

before the drug can be dispensed:

         Prior Authorization (PA) Process Key Steps:

     •    The Member’s Prescriber or Member’s appointed/authorized representative can submit
          a PA request.
     •    If the request and the provided information falls within established guidelines,
          the request will be approved.
     •    If the request and provided information falls outside the established guidelines, a
          Pharmacist reviews the request and contacts the prescriber if additional information is
          required.
     •    If required by state law, the request will be reviewed by a medical director
          before issuing the final decision.
     •    Additionally, where required by law, the Prescriber is offered the
          opportunity for a peer-to-peer consultation prior to the issuance of an
          adverse medical necessity determination.

         Once the request is approved or denied, our PA system will automatically generate a
         written correspondence to both the Member and Prescriber.

         28.    Also according to OptumRx’s Provider Manual, even “urgent cases have a

turnaround time of seventy-two (72) hours for commercial Benefit Plans, from receipt of request

to review the case.”

         29.    Similar to the Prior Authorization process is Step Therapy, which requires a

patient to first take a “preferred” drug of OptumRx’s choosing for a dictated period of time,

before they can take the drug prescribed by that patient’s doctor.

         30.    In this case, OptumRx required that patients prescribed Advair Diskus undergo

Step Therapy and try preferred drugs from manufacturers that had provided kickbacks, such as


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Advair HFA, Breo Ellipta or Symbicor first, before they could refill their doctors’ prescriptions

for Advair Diskus.

       31.     OptumRx could have structured its formulary to allow existing patients taking

Advair Diskus to continue refilling their prescriptions without difficulty, and only require Step

Therapy and/or Prior authorization for new prescriptions of Advair Diskus (“new cases only”).

       32.     OptumRx chose not to do so, because applying the new, non-medical criteria to

existing patients would generate far more money in kickbacks to OptumRx.

       33.     OptumRx also could have left the generic equivalent of Advair Diskus on the

formulary, while excluding the brand version.

       34.     Under Wisconsin law, pharmacists have discretion to substitute a brand

prescription with its generic equivalent, without prescriber approval, unless otherwise specified

in the prescription.

       35.     A pharmacist, however, cannot substitute one brand for another without prescriber

approval.

       36.     OptumRx also dictates the prices charged for drugs to the pharmacy providers in

its network and specifies that failing to charge the price OptumRx dictates, or charging for non-

covered ingredients, may subject the pharmacy to termination from OptumRx’s network, which

would deprive the pharmacy of a significant portion (approximately 20%) of their business.

       37.     An OptumRx publication presented the following alternatives to patients who

immediately needed a drug that requires a prior authorization:

       Getting a short-term supply

       If you must take a medication that requires prior authorization right away, there are two
       options that may work for you. First, ask your doctor if a sample is available. Or, check
       with your pharmacy to request a short-term supply of 5 days or less. Keep in mind, you



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       will be responsible for the full cost at that time. If the prior authorization request is
       approved, then your pharmacist can fill the rest of your prescription.

       If you see your medication listed, we encourage you to talk with your doctor about your
       treatment and medication options. If you have questions about the PA process, call the
       phone number on your member ID card.

       38.     Neither of these options were viable for patients taking Advair Diskus because

first, Advair Diskus was a mature drug which had been on the market for many years, so the

manufacturer no longer made free samples available, and second, Advair Diskus is an inhaler,

which is not available in a five-day supply.

       39.     According to OptumRx’s own Provider Manual, Prior Authorizations should only

be required for drugs which may not be medically necessary, such as to:

       prevent coverage of select products that have potential for use that is typically outside the
       scope of the pharmacy or medical benefit (e.g., prescribed for treatment of conditions for
       which there is insufficient clinical evidence supporting safe and/or effective use); use for
       conditions which are not covered by the Plan (e.g., cosmetic use, or conditions excluded
       by the Plan); or use in situations where quantity or duration of treatment exceeds those
       defined as safe and effective in clinical compendia, treatment guidelines or supported
       through published and/or consulted expert opinion (e.g., OptumRx National P&T
       Committee).

       40.     None of these criteria applied to Advair Diskus or its generic equivalents, which

are safe and effective for asthma, and fall well within the scope of the pharmacy benefit.

       41.     Because Prior Authorizations can deprive patients of needed medications, the

standard of care in the PBM industry, and statutory law in many states including Wisconsin,

mandates that PBMs advise patients in advance of formulary changes that will adversely affect

their ability to access their existing medications, whether that is by increasing the patient’s cost

or excluding coverage altogether.

       42.     Indeed, OptumRx’s own website tells prescribing physicians that:




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       During formulary cycle updates, OptumRx reaches out to impacted patients with the
       information they need, including suggested covered alternative medications. We’re here
       to support you and your patients through this process. (emphasis original)

       and

       Certain states require OptumRx to communicate prior authorization changes before the
       effective date. Flyers are sent to members to outline the drugs affected by prior
       authorization, quantity limits, and step therapy based on benefit plan designs. Please
       review each document for more details.


       43.     One of those “certain states” is Wisconsin, which puts certain restrictions on a

PBM’s authority to require prior authorization.

       44.     First, Wisconsin law requires at least thirty (30) days advance notice of any

formulary change that removes a drug from their formulary or places it on a higher (i.e. more

expensive) tier, to give enrollees the chance to request an exception to the formulary change.

WIS. STAT. § 632.861(4).

       45.     Next, Wisconsin Law requires that any Step Therapy protocol imposed by a PBM

like OptumRx be based on “clinical review criteria that are based on clinical practice guidelines

that are derived from peer-review publications, evidence-based research, and widely accepted

medical practice. If such clinical practice guidelines are unavailable, the insurer, pharmacy

benefit manager, or utilization review organization shall derive clinical review criteria from peer-

reviewed publications, evidence-based research, and widely accepted medical practice.” WIS.

STAT. § 632.866 (2)(a).

       46.     There is no legitimate peer-reviewed publication or evidence-based research that

supports switching a patient whose asthma is well-controlled by Advair Diskus to a different

medication.




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          47.   To the contrary, peer reviewed literature establishes that this kind of non-medical

switching is associated with adverse medical outcomes.

          48.   The same Wisconsin statute further requires that “[a]n insurer, Pharmacy Benefit

Manager, or utilization review organization shall describe on its internet site the process and

criteria used for selecting and evaluating clinical practice guidelines [] to develop step therapy

protocols.” WIS. STAT. § 632.866 (2)(c).

                COLE SCHIMDTKNECHT IS DENIED HIS MEDICATION

          49.   Twenty-two-year-old Cole Schmidtknecht had a medical history of chronic

asthma, stemming from infancy.

          50.   Cole managed his asthma with daily preventative doses of Advair Diskus. Advair

Diskus and its generic equivalents had safely and effectively treated Cole’s asthma for more than

a decade.

          51.   Beginning in March 2023, Cole was employed by Kriete Truck Center Green Bay

[hereinafter “Kriete Trucking”], located at 2090 Mid Valley Drive, De Pere, Wisconsin 54115,

where he earned a modest hourly wage.

          52.   Like most Americans, Cole received his health insurance from his employer.

          53.   At Kriete Trucking, he was on a self-insured plan that was administered by United

Health.

          54.   Under this United Health plan, OptumRx was the PBM for Cole’s prescription

medications.

          55.   Cole’s prescription had historically been covered by his insurance. Under the

United Health-OptumRx Plan in 2023, Cole’s asthma medication, Advair Diskus, was covered




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and would cost no more than about $66.86, even during the deductible phase of coverage, or

about $35 during the covered phase.

       56.     On January 10, 2024, Cole went to his local OptumRx-Walgreens pharmacy,

Store # 12693, located at 729 West Northland Avenue, Appleton, Wisconsin 54914, expecting to

fill his usual prescription for his Advair Diskus inhaler, as prescribed by his physician.

       57.     At the pharmacy, Cole was advised by the Walgreens Defendants that his

medication was no longer covered by his insurance and that his Advair Diskus preventative

inhaler would cost him $539.19 out of pocket.

       58.     Despite the clear requirements under Wisconsin law, OptumRx never provided

Cole with thirty (30) days’ notice that his Advair Diskus, nor its generic equivalents, would not

be covered by his insurance in 2024.

       59.     As a result, he did not have the opportunity to ask for an exception to the

OptumRx’s re-classification of the medication under its formulary that suddenly made his normal

medication prohibitively expensive.

       60.     Also contrary to requirements under Wisconsin law, OptumRx did not describe its

process and criteria for selecting and evaluating step therapy protocols on the internet before

requiring Cole to switch medications for no medical reason.

       61.     According to a statement by OptumRx, in this scenario, the Walgreens pharmacist

should have contacted Cole’s prescribing physician about three other “clinically-appropriate

alternatives available at a Tier-1 [more affordable] Co-pay: “Premium Drug Exclusion: Drug Not

Covered; -Contact prescriber; Use Advair HFA; Breo Ellipta; Symbicort.”

       62.     Walgreens Defendants did not follow these instructions.




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       63.     Walgreens Defendants never provided Cole with any more affordable

workarounds to obtain his usual inhaler for his chronic asthma.

       64.     Walgreens Defendants did not offer Cole a generic alternative to Advair Diskus

and further told Cole that there were no cheaper alternatives or generic medications available.

       65.     Walgreens Defendants did not contact OptumRx to request an exception to the re-

classification on Cole’s behalf.

       66.     Likewise, Walgreens Defendants did not contact Cole’s prescribing physician to

ask them to request an exception on Cole’s behalf.

       67.     Walgreens Defendants did not provide Cole with a free or discounted Advair

Diskus inhaler for him to use until he was able to contact his physician or United Health.

       68.     In fact, Walgreens Defendants did not take any steps to attempt to help Cole

obtain the medication that he relied upon to control his asthma.

       69.     Because Cole could not afford this unexpected expense of $539.19, he left the

Walgreens without filling his prescription.

       70.     By removing Advair Diskus and its generic equivalents from its formulary,

OptumRx caused Cole to leave the pharmacy without the necessary asthma medication his

physician prescribed.

       71.     By removing Advair Diskus and its generic equivalents from its formulary

without giving Cole thirty days’ notice to request an exception, OptumRx caused Cole to leave

the pharmacy without the necessary asthma medication his physician prescribed.

       72.     By requiring a Prior Authorization for the prescription for Advair Diskus and its

generic equivalents, OptumRx caused Cole to leave the pharmacy without the necessary asthma

medication his physician prescribed.



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       73.     By requiring a Cole undergo a step-up regimen before he could fill his

prescription for Advair Diskus and its generic equivalents, OptumRx caused Cole to leave the

pharmacy without the necessary asthma medication his physician prescribed.

       74.     OptumRx knew or should have known that Cole would be forced to leave the

Walgreens pharmacy without his life-sustaining medication while he awaited OptumRx’s

approval, which would take at least seventy-two (72) hours.

       75.     Over the next five days, Cole repeatedly struggled to breathe, relying solely on his

old “rescue” (emergency) inhaler to limit his symptoms, because he did not have a preventative

inhaler designed for daily use.

       76.     On January 15, 2024, five days after visiting the OptumRx-Walgreens pharmacy,

Cole had a severe asthma attack and began to asphyxiate.

       77.     His roommate, Mitchell Huiting, immediately drove him to the Emergency Room

at ThedaCare Regional Medical Center-Appleton, located at 1818 North Meade Street, Appleton,

Wisconsin 54911.

       78.     Cole became unresponsive and pulseless in the car, about two minutes before they

arrived.

       79.     When he presented to the ER, practitioners recorded that Cole was unconscious,

pulseless, and appeared blue.

       80.     Emergency medical staff immediately gave Cole two rounds of epinephrin and

performed two rounds of Cardiopulmonary Resuscitation, lasting over four minutes, to try to get

him to regain consciousness.

       81.     Despite their best efforts, Cole never woke up again.




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       82.     Cole remained in the Intensive Care Unit on a ventilator for six days, until doctors

finally informed his parents, William and Shanon Schmidtknecht, that he was beyond help.

       83.     On January 21, 2024, Cole’s parents agreed to withdraw life supporting care and

Cole was pronounced dead.

       84.     The immediate cause of death listed on his death certificate was status

asthmaticus.

       85.     As a result of these events, Cole suffered the following injuries and damages:

       a.      Severe asthma attack;

       b.      Asphyxiation;

       c.      Shortness of breath;

       d.      Traumatic brain injury;

       e.      Altered level of consciousness;

       f.      Starvation of oxygen;

       g.      Hypoxia;

       h.      Hypothermia;

       i.      Panic;

       j.      Pain and suffering;

       k.      Emotional distress;

       l.      Mental anguish;

       m.      Loss of life’s pleasures;

       n.      Loss of earnings; and

       o.      Death.




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          86.    As a result of Cole Schmidtknecht’s death, Plaintiffs Shanon Schmidtknecht, and

Bill Schmidtknecht, and the Estate of Cole Schmidtknecht suffered the following damages:

          a. lost earnings of Cole Schmidtknecht between the time of his injury and his death;

          b. Cole Schmidtknecht’s total estimated future earning power less his cost of personal
             maintenance;

          c. pain and suffering endured by Cole Schmidtknecht prior to his death, including, but
             not limited to, physical pain and suffering, mental pain and suffering, mental
             suffering, loss of life’s pleasures, disfigurement, and humiliation;

          d. medical expenses;

          e. funeral, and burial expenses;

          f. monetary support Cole Schmidtknecht would have provided during his lifetime, the
             value of services provided or which could have been expected to have been
             performed in the future by Cole Schmidtknecht, and all pecuniary losses suffered as a
             result of Cole Schmidtknecht’s death;

          g. Individual plaintiffs Shanon Schmidtknecht and William Schmidtknecht lost the
             society and companionship of their son, Cole Schmidtknecht;

          h. other serious and severe injuries, the exact nature of which are unknown to Plaintiff at
             this time; and

          i. all damages available under Wisconsin law.

                                    COUNT I: NEGLIGENCE

                              Plaintiffs v. Defendant OptumRx, Inc.

          87.    The preceding paragraphs are incorporated by reference as though fully set forth

herein.

          88.    At all relevant times, Defendant OptumRx engaged in the business of providing

and managing the pharmacy benefits to millions of people, including Cole Schmidtknecht.




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       89.     Defendant OptumRx had a duty to not artificially inflate prescription drug prices

for medications such as Advair Diskus for insured patients, including Cole Schmidtknecht, making

them so unaffordable that patients could not obtain the medications their physicians prescribed.

       90.     Defendant OptumRx had a duty to inform asthmatic patients, including Cole

Schmidtknecht, who were previously taking and who had been continuously prescribed Advair

Diskus, of their decision to reschedule the medication and the impact this decision would have on

pricing, so patients could request an exception to the rescheduling by the PBM.

       91.     Defendant OptumRx failed to exercise reasonable care in that they knew, or should

have known, of the unreasonable risks of harm resulting from:

       a. Failing to ensure that asthma patients, including Cole Schmidtknecht, had access to
          Advair Diskus, or its generic equivalent, as prescribed by their physician;

       b. Failing to notify Cole Schmidtknecht that the medication that he had been relying on
          for years would be dramatically increasing in price;

       c. Failing to give at least thirty (30) days advance notice to asthmatic patients, including
          Cole Schmidtknecht, that the medication that he had been relying on for years would
          no longer be covered, so that they could request an exception before their next refill;

       d. Failing to afford an exception to Cole Schmidtknecht to OptumRx’s re-scheduling of
          Advair Diskus to a not covered drug, despite his long history of taking, relying on, and
          benefitting from Advair Diskus without any negative side effects;

       e. Forcing patients, including Cole Schmidtknecht, who had historically taken Advair
          Diskus to switch to another asthma medication for no sound medical reason, in
          violation of the standards expressed in Optum’s own Provider Manual; See, e.g., para.
          43 supra.

       f. Forcing patients, including Cole Schmidtknecht, who had historically taken Advair
          Diskus to adhere to a step-up regimen on another medication for no sound medical
          reason and without supporting peer-reviewed medical literature;

       g. Failing to provide retail pharmacies, including Walgreens, with information to
          provide to patients who were impacted by their rescheduling of Advair Diskus to a
          not covered drug, so that they could obtain an alternative medication;




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       h. Failing to provide the Walgreens pharmacy located at 729 West Northland Avenue,
          Appleton, with information and/or means necessary to make sure that patients,
          including Cole Schmidtknecht, who were adversely impacted by the formulary
          change, would receive a covered alternative medication before these patients left the
          pharmacy; and

       i. Failing to provide employees at the Walgreens pharmacy located at 729 West Northland
          Avenue, Appleton, Wisconsin 54914 with information to provide Cole Schmidtknecht
          with regarding the impacts of the re-scheduling of Advair Diskus to a not covered drug,
          so that he could obtain an alternative medication.

       92.     Defendant OptumRx failed to exercise reasonable care in that they knew, or should

have known, of the unreasonable risks of harm to asthmatic patients, including Cole

Schmidtknecht, which would result from their failing to provide access to Advair Diskus or its

generic alternatives.

       93.     As a direct and proximate result of the acts and omissions of Defendant OptumRx,

Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the Estate of Cole Schmidtknecht,

suffered the injuries described above.

       94.     The negligence of Defendant OptumRx and its employees, agents, ostensible

agents, shareholders, officers, directors, and/or managing agents, as set forth above, was a direct

and proximate cause of the injuries and damages suffered by Plaintiffs, Shanon Schmidtknecht,

William Schmidtknecht, and the Estate of Cole Schmidtknecht.

       WHEREFORE, Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the

Estate of Cole Schmidtknecht, respectfully demand judgment against Defendants, jointly and

severally, for sums in excess of the local arbitration limits, exclusive of pre-judgment, post-

judgement interest, and costs.




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                                    COUNT II: NEGLIGENCE

                                Plaintiffs v. Walgreens Defendants

          95.    The preceding paragraphs are incorporated by reference as though fully set forth

herein.

          96.    At all relevant times, Walgreens Defendants engaged in the business of providing

prescription medications to pharmacy patients.

          97.    Walgreens Defendants had a duty to provide medications such as Advair Diskus to

patients, including Cole Schmidtknecht, as their physicians prescribed, or if their prescribed

medication was not covered by their health insurance, exercise reasonable care to provide

affordable alternative options to patients, including Cole Schmidtknecht, at the point of service.

          98.    Walgreens Defendants had a duty to inform asthmatic patients who were previously

taking and had been continuously prescribed Advair Diskus, including Cole Schmidtknecht, of

OptumRx’s decision to reschedule the medication and the impact this decision had on pricing, and

work to find alternative ways for patients, including Cole Schmidtknecht, to fill their prescriptions.

          99.    Walgreens Defendants failed to exercise reasonable care in that they knew, or

should have known, of the unreasonable risks of harm resulting from:

          a. Failing to seek OptumRx’s approval to fill the prescription;

          b. Failing to seek OptumRx’s approval to fill the prescription with the generic
             equivalent;

          c. Failing to immediately request a Prior Authorization from OptumRx on an urgent
             basis;

          d. Failing to immediately contact Cole’s prescribing physician to request a new
             prescription to a covered medication on an urgent basis;

          e. Failing to immediately contact Cole’s prescribing physician so they could immediately
             request a Prior Authorization from OptumRx on an urgent basis;


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       f. Failing to provide an emergency supply of Advair Diskus or its generic equivalent to
          Cole Schmidtknecht;

       g. Failing to provide an emergency supply of one of the covered asthma medications to
          Cole Schmidtknecht for him to rely on while the Prior Authorization was pending;

       h. Failing to inform Cole that these requests had been made and that his medication
          would become available to him at an affordable price in 72 hours;

       i. Failing to adequately train staff around how to perform services to ensure patients
          were advised of all the options open to them and received necessary pharmacy
          services;

       j. Failing to provide adequate staffing and resources to its retail pharmacy locations to
          ensure patients were advised of all the options open to them and received necessary
          pharmacy services; and

       k. Failing to take corrective actions to ensure patients received necessary medical
          services and were advised of all the options open to them following multiple
          indications that pharmacists were under-trained, and pharmacies were under-staffed
          and under-resourced, and therefore could not ensure patients received necessary
          pharmacy services and were advised of all the options open to them.

       100.      Instead of taking any of these steps, Walgreens Defendants simply told Cole that

his medication would cost $539.19.

       101.      This price was unconscionably high, and well above Walgreens Defendants’

acquisition cost for this drug.

       102.      Walgreens Defendants had a duty to notify asthmatic patients, including Cole

Schmidtknecht, who were previously taking and had been continuously prescribed Advair Diskus,

of OptumRx’s decision to reschedule the medication and the impact this decision had on pricing,

and work to find alternative ways for patients, including Cole Schmidtknecht, to fill their

prescriptions.




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          103.   Walgreens Defendants failed to exercise reasonable care in that they knew, or

should have known, of the unreasonable risk of harm to asthmatic patients, including Cole

Schmidtknecht, that would result from their failing to provide him with Advair Diskus or a

medically equivalent alternative medication at an affordable price at the point of service.

          104.   As a direct and proximate result of the acts and omissions of Walgreens Defendants,

Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the Estate of Cole Schmidtknecht,

suffered the injuries and damages as set forth above.

          105.   The negligence of Walgreens Defendants and its employees, agents, ostensible

agents, shareholders, officers, directors, and/or managing agents, as set forth above, was a direct

and proximate cause of the injuries and damages suffered by Shanon Schmidtknecht, William

Schmidtknecht, and the Estate of Cole Schmidtknecht.

          WHEREFORE, Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the

Estate of Cole Schmidtknecht, respectfully demand judgment against Defendants, jointly and

severally, for sums in excess of the local arbitration limits, exclusive of pre-judgment, post-

judgement interest, and costs.

COUNT III: NEGLIGENCE PER SE VIOLATION OF THREE WISCONSIN STATUTES
             ESTABLISHING A STANDARD OF CARE FOR PBMS

                              Plaintiffs v. Defendant OptumRx, Inc.

          106.   The preceding paragraphs are incorporated by reference as though fully set forth

herein.

          107.   At all relevant times, Cole Schmidtknecht was an enrollee as defined by WIS. STAT.

§ 632.861(1)(b).




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          108.   Defendant OptumRx’s treatment of Cole Schmidtknecht violated three different

Wisconsin statutes: WIS. STAT. § 632.861(3), WIS. STAT. § 632.861(4) and WIS. STAT. § 632.866

(2)(a).

          109.   Under WIS. STAT. § 632.861(3), a PBM shall “not require an enrollee to pay at the

point of sale for a covered prescription drug an amount that is greater than the lowest of all of the

following amounts:

          (a)     The cost-sharing amount for the prescription drug for the enrollee under the
          policy or plan.

          (b) The amount a person would pay for the prescription drug if the enrollee purchased the
          prescription drug at the dispensing pharmacy without using any health plan or health
          insurance coverage.
          WIS. STAT. § 632.861(3)

          110.   Defendant OptumRx required Cole Schmidtknecht to pay $539.19 at the point of

sale for Advair Diskus.

          111.   The $539.19 for Advair Diskus is an amount greater than the lowest amount of both

the cost-sharing amount under the policy/plan and the amount that a person would pay if the

enrollee purchased the Advair Diskus at the dispensing pharmacy without using any health plan or

health insurance coverage, in violation of Section 632.861(1)(b).

          112.   Wisconsin law also requires at least thirty (30) days advance notice of any

formulary change that removes a drug from the formulary or places it on a higher (more expensive)

tier, and simultaneously inform the enrollees like Cole of the procedure for the enrollee to request

an exception to the formulary change. WIS. STAT. § 632.861(4).

          113.   On January 1, 2024, Defendant OptumRx changed Advair Diskus from a covered

drug to an excluded drug that would only be covered if the patient obtained Prior Authorization or

went through step therapy.



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       114.    Defendant OptumRx failed to provide Cole Schmidtknecht with thirty (30) days’

advanced written notice of the formulary change that removed Advair Diskus from the formulary

policy/plan or that reassigned Advair Diskus to a benefit tier for the policy or plan that has a higher

deductible, copayment, or coinsurance.

       115.    Defendant OptumRx did not provide Cole Schmidtknecht with information on the

procedure to request an exception to the Advair Diskus formulary change.

       116.    At all relevant times, Cole Schmidtknecht was using Advair Diskus when thirty

(30) days’ advanced written notice was required.

       117.    Wisconsin Law also required that any step therapy protocol Defendant OptumRx

imposed be based on “clinical review criteria that are based on clinical practice guidelines that are

derived from peer-review publications, evidence-based research, and widely accepted medical

practice. If such clinical practice guidelines are unavailable, the insurer, pharmacy benefit

manager, or utilization review organization shall derive clinical review criteria from peer-reviewed

publications, evidence-based research, and widely accepted medical practice.” WIS. STAT.

§ 632.866 (2)(a).

       118.    At all relevant times, Defendant OptumRx failed to use clinical review criteria

based on clinical practice guidelines derived from peer-review publications, evidence-based

research, or widely accepted medical practice when it established its step therapy protocol for

Advair Diskus.

       119.    At all relevant times, Defendant OptumRx failed to continually update the clinical

review criteria based on an update to the clinical practice guidelines or a review of new evidence

and research and newly developed treatments.




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          120.   Defendant OptumRx had an obligation not to violate State law in providing

prescription medications to Plaintiffs’ decedent, Cole Schmidtknecht.

          121.   Defendant OptumRx failed to comply with State law in managing pharmacy

benefits for Plaintiffs’ decedent, Cole Schmidtknecht, including, but not limited to, WIS. STAT. §§

632.861(3) -(4) and 632.866(2).

          122.   WIS. STAT. §§ 632.861(3)-(4) and 632.866(2) are safety statutes enacted to protect

patients taking prescription drugs.

          123.   Cole Schmidtknecht was in the class that WIS. STAT. §§ 632.861(3)-(4) and

632.866(2) were enacted to protect.

          124.   The legislative intent in passing WIS. STAT. §§ 632.861(3) -(4) and 632.866(2) as

part of the 2021 Wisconsin Act was to protect consumers and increase transparency and

accountability in prescription drug pricing.

          125.   As a direct and proximate result of the acts and omissions of Defendant OptumRx,

Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the Estate of Cole Schmidtknecht,

suffered the injuries and damages as set forth above.

          WHEREFORE, Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the

Estate of Cole Schmidtknecht, respectfully demand judgment against Defendants, jointly and

severally, for sums in excess of the local arbitration limits, exclusive of pre-judgment, post-

judgement interest, and costs.

                               COUNT IV: PUNITIVE DAMAGES

                              Plaintiffs v. Defendant OptumRx, Inc.

          126.   The preceding paragraphs are incorporated by reference as though fully set forth

herein.



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          127.   OptumRx intentionally disregarded the rights of Plaintiffs’ decedent, Cole

Schmidtknecht, and similarly situated individuals when it violated State laws.

          128.   OptumRx was aware that the result or consequence of serious injury or death was

substantially certain to occur when it violated State law and acted in intentional disregard of that

serious injury or death.

          129.   At all relevant times, OptumRx’s conduct was grievous and outrageous, and

evinced such a degree of intentional disregard of the rights of Cole Schmidtknecht and similarly

situated individuals as to warrant punitive damages.

          130.   OptumRx’s grievous and outrageous conduct caused the harms and injuries

suffered by Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the Estate of Cole

Schmidtknecht, as set forth above, warranting punitive damages.

                               COUNT V: PUNITIVE DAMAGES

                                Plaintiffs v. Walgreens Defendants

          131.   The preceding paragraphs are incorporated by reference as though fully set forth

herein.

          132.   Walgreens Defendants intentionally disregarded the rights of Plaintiffs’ decedent,

Cole Schmidtknecht, and similarly situated individuals when it violated State laws.

          133.   Walgreens Defendants were aware that the result or consequence of serious injury

or death was substantially certain to occur when they violated State law and acted in intentional

disregard of that serious injury or death.

          134.   At all relevant times, Walgreens Defendants’ conduct was grievous and outrageous,

and evinced such a degree of intentional disregard of the rights of Cole Schmidtknecht and

similarly situated individuals as to warrant punitive damages.



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          135.   Walgreens Defendants’ grievous and outrageous conduct caused the harms and

injuries suffered by Plaintiffs, Shanon Schmidtknecht, William Schmidtknecht, and the Estate of

Cole Schmidtknecht, as set forth above, warranting punitive damages.

                 FIRST CAUSE OF ACTION: WRONGFUL DEATH ACTION

           Plaintiffs Shanon Schmidtknecht and William Schmidtknecht individually
                                      v. All Defendants

          136.   The preceding paragraphs are incorporated by reference as though fully set forth

herein.

          137.   Plaintiffs, Shanon Schmidtknecht, individually, and William Schmidtknecht,

individually, bring this action under and by virtue of WIS. STAT. § 895.04.

          138.   As a result of the acts and omissions of all Defendants, Cole Schmidtknecht died

on January 21, 2024.

          139.   As a result of the acts and omissions of all Defendants, Plaintiffs, Shanon

Schmidtknecht, individually, and William Schmidtknecht, individually, suffered harms and losses

which are compensable pursuant to WIS. STAT. § 895.04.

          WHEREFORE,        Plaintiffs,   Shanon    Schmidtknecht,   individually,   and   William

Schmidtknecht, individually, respectfully demand judgment against Defendants, jointly and

severally, for sums in excess of the local arbitration limits, exclusive of pre-judgment, post-

judgement interest, and costs.

             SECOND CAUSE OF ACTION: CLAIM OF THE ESTATE OF COLE
                              SCHMIDTKNECHT

                                    Plaintiffs v. All Defendants

          140.   The preceding paragraphs are incorporated by reference as though fully set forth

herein.



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       141.    Cole Schmidtknecht died on January 21, 2024.

       142.    As a result of the acts and omissions of all Defendants, Cole Schmidtknecht was

caused grave injuries and death resulting in the entitlement to damages by the Estate of Cole

Schmidtknecht, deceased.

       143.    Plaintiffs, Shanon Schmidtknecht, individually, and William Schmidtknecht,

individually and as Special Administrator of the Estate of Cole Schmidtknecht, bring this action

on behalf of the Estate of Cole Schmidtknecht, deceased, and claims the full measure of damages

compensable under Wisconsin law.

       WHEREFORE, Plaintiffs respectfully demand judgment against Defendants, jointly and

severally, for sums in excess of the local arbitration limits, exclusive of pre-judgment, post-

judgement interest, and costs.



                                                   Respectfully submitted,


Date: 01/21/25                              By:    _______________________________
                                                   Michael A. Trunk, Esquire
                                                   Helen A. Lawless, Esquire
                                                   Kline & Specter, P.C.

                                                   Jerome Hierseman, Esquire
                                                   End, Hierseman and Crain L.L.C.


                                                   Mark Cuker, Esquire
                                                   Cuker Law Firm L.L.C.

                                                   Attorneys for Plaintiffs




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